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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:08-CR-163 JCM (GWF)
                 8                                             Plaintiff(s),                     ORDER
                 9              v.
               10        CHRISTOPHER SANGALANG, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is the case of United States of America v. Sangalang et al., case
               14       number 2:08-cr-00163-JCM-GWF.
               15              On January 22, 2016, the parties filed a joint stipulation for sentence reduction pursuant to
               16       18 U.S.C. § 3582(c)(2). (Doc. # 694). The parties have reached an agreement concerning a
               17       discretionary sentence reduction for defendant Deandre Patton.
               18              Included in the joint stipulation is a declaration from the defendant consenting to the entry
               19       of an amended sentence and setting forth the appropriate waivers. (Doc. # 694). The joint
               20       stipulation also contains a certification by defense counsel that counsel has communicated with
               21       the defendant and that the defendant consents to the proposed resolution. (Id.) Finally, the joint
               22       stipulation sets forth the amended guidelines sentencing range as calculated by the parties and an
               23       agreement to a particular sentence. (Id.)
               24              Accordingly,
               25              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the parti
               26       stipulation (doc. # 694) be, and the same hereby is, GRANTED. Defendant Deandre Patton shall
               27       receive the agreed upon sentence reduction pursuant to 18 U.S.C. § 3582(c)(2).
               28

James C. Mahan
U.S. District Judge
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                1            IT IS FURTHER OR                                                          on counts one
                2     and two is reduced to 120                        (for a total sentence of 180 months). All other
                3     provisions of the judgment dated December 22, 2010, are to remain in effect.
                4            DATED January 26, 2016.
                5                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
